                                                                     (SPACE BELOW FOR FILING STAMP ONLY)
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 4
 5      ATTORNEYS FOR     Defendant,
                          JOSEPH NICHOLS
 6
 7
                                   UNITED STATES DISTRICT COURT
 8
                                  EASTERN DISTRICT OF CALIFORNIA
 9
                                                  ******
10
      UNITED STATES OF AMERICA,                         Case No.: 1:11-CR-00204-AWI
11
                     Plaintiff,
12                                                            STIPULATION TO CONTINUE
             vs.                                                    SENTENCING
13                                                                      AND
      JOSEPH NICHOLS,                                                 ORDER
14
                     Defendants.
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     TO:    THE UNITED STATES DISTRICT COURT AND TO THE UNITED STATES
17          ATTORNEY'S OFFICE and/or ITS REPRESENTATIVES:
18          IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective
19   clients that the Sentencing hearing currently on calendar for August 27, 2012, at 10:00 a.m., be
20   continued to September 17, 2012, at 10:00 a.m., or as soon thereafter as is convenient to the court’s
21   calendar.
22          IT IS FURTHER STIPULATED that the deadlines for filing informal and formal
23   objections to the Pre-Sentence Investigation Report be scheduled as follows:
24                   Informal Objections to be served on or before August 27, 2012.
25                   Formal Objections to be filed on or before September 10, 2012.
26          This continuance is requested by counsel for Defendant, JOSEPH NICHOLS, due to the fact
27   that counsel needs additional time prepare informal objections to the probation report. Specifically,
28   counsel for Defendant was out of the office from July 24, 2012 through August 3, 2012, and was
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 1   unable to meet with Defendant prior to August 6, 2012, the date the informal objections are due.
 2          Counsel for Defendant has spoken with Assistant U. S. Attorney, KATHLEEN
 3   SERVATIUS, who has no objection to this continuance.
 4   Dated: August 6, 2012                Respectfully Submitted,
 5                                        NUTTALL & COLEMAN
 6                                         /s/ MARK W. COLEMAN
 7
                                          MARK W. COLEMAN
 8                                        Attorney for Defendant,
                                          JOSEPH NICHOLS
 9
10   Dated: August 6, 2012.               UNITED STATES ATTORNEY’S OFFICE
11                                         /s/ KATHLEEN SERVATIUS
12
                                          KATHLEEN SERVATIUS
13                                        Assistant U.S. Attorney
14
                                               *******
15
                                               ORDER
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     IT IS SO ORDERED.
17
18   Dated:           August 6, 2012
     0m8i78                                CHIEF UNITED STATES DISTRICT JUDGE
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